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                              U NITED STATES DISTRIC T CO URT
                              SO U TH ERN DISTRICT OF FLO RIDA

                                              CA SE N O .


    In the M atlerofthe Search of

    M ar-a-Lago
    1100 S.Ocean Blvd.
    Palm Beach,FL 33480
                                             /

                                                 O RDER

           I'HIS CA USE is before the Courtupon M ovantDonald J.Tnlm p'sM otion ForJudicial

    OversightAnd AdditionalRelief.The Courthaving reviewed the M otion and any opposition
    thereto,and being otherwise fully advised,itishereby:

           O RDERED thattheM otion is GR AN TED ;and itisflzrther

           O RDERED that:

           (a)A SpecialMastershallbe appointed in this matterto review allmaterials seized
              pursuantto the Search W arrantsigned on A ugust5,2022,forexecution attheprem ises

              listed above;

           (b) TheGovem mentisenjoinedfrom furtherreview ofthosematerialstmdlsuchtimems
              a SpecialM msteris appointed;

           (c)The Govem ment shall provide M ovant n,1t.
                                                       11 a sum ciently detailed Receipt for
              Property,stating w ith specificity each item seized ptzrsuantto the Search W arrant,and

              wherethatitem waslocated atthe tim e ofseizure;and

           (d)'l'
                heGovemmentshallpromptly rettu'
                                              nany item seizedthatwasnotwithinthescope
              ofthe Search W arrant.
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          DO NE A ND O RDERED in Chambers at    .    -- - -    -   -   -   -   ,   Floridw this

          day of                            .2022.


                                                              United StatesD istrictJudge

    Copiesfurnished to:AllCounselofRecord
